                                                                               Motion GRANTED.


                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )      NO. 3:10-00163
                                                    )      JUDGE TRAUGER
  v.                                                )
                                                    )
[32] KENNETH GADDIE                                 )
A/K/A “K.G.”                                        )


            UNITED STATES’ MOTION FOR SEVERANCE OF DEFENDANT
                       [32] KENNETH GADDIE a/k/a “K.G.”

       Comes now the United States, by and through the undersigned, and pursuant to Fed. R. Crim.

P. 14(a), respectfully moves for the severance of defendant [32] Kenneth Gaddie, a/k/a K.G.

       Defendant [32] Kenneth Gaddie, a/k/a K.G., is a fugitive at this time. Although the United

States anticipates defendant [32] Kenneth Gaddie, a/k/a K.G., being arrested in this matter, the

United States has no foreseeable time period in which this may occur.

       Fed. R. Crim. P. 14(a) provides that the court may order the severance of defendants if a

consolidation for trial prejudices a defendant or the government. The United States moves for

severance of defendant [32] Kenneth Gaddie, a/k/a K.G., to avoid any unnecessary delay as to the

proceedings in this matter.

                                                    Respectfully submitted,

                                                    LANNY A. BREUER
                                                    ASSISTANT ATTORNEY GENERAL

                                                    s/ Cody L. Skipper
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